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 IT IS HEREBY ADJUDGED and DECREED that the
 below described is SO ORDERED.


 Dated: December 08, 2022.

                                                 __________________________________
                                                           TONY M. DAVIS
                                                 UNITED STATES BANKRUPTCY JUDGE
 __________________________________________________________________
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